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                                               UNITED STATES DISTRICT COURT
                                                DISTRICT OF MASSACHUSETTS

                                                       ORDER OF REFERENCE

                                                                               Check if previously referred

E. MARK NOONAN

                  V.                                                  CA No. 09-10723-MLW

WONDERLAND GREYHOUND PARK et al



In accordance with 28 U.S.C. §636 and the Rules for United States Magistrates in the United States District Court for the
District of Massachusetts, the above-entitled case is referred to Magistrate Judge BOWLER for the following proceedings:

(A)      X        Referred for full pretrial case management, including all dispositive motions.

(B)               Referred for full pretrial case management, not including dispositive motions:

(C)               Referred for discovery purposes only.

(D)               Referred for Report and Recommendation on:

                  ( ) Motion(s) for injunctive relief
                  ( ) Motion(s) for judgment on the pleadings
                  ( ) Motion(s) for summary judgment
                  ( ) Motion(s) to permit maintenance of a class action
                  ( ) Motion(s) to suppress evidence
                  ( ) Motion(s) to dismiss
                  ( ) Post Conviction Proceedings1
                   See Documents Numbered:

(E)               Case referred for events only. See Doc. No(s):

(F)               Case referred for settlement.

(G)               Service as a special master for hearing, determination and report, subject to the terms of the special order filed
                  herewith:
                  ( ) In accordance with Rule 53, F.R.Civ.P.
                  ( ) In accordance with 42 U.S.C. 2000e-5(f)(5)

(H)               Special Instructions:


May 29, 2009                                                          By:      /s/ Dennis O’Leary
Date                                                                           Deputy Clerk

(order-ref-mag.wpd - 05/2003)




                  1
                        See reverse side of order for instructions
